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October 9, 2020

Honorable J. Paul Oetken
United States District Judge
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

RE:    United States v. Paez Vazquez et. al., 20 Cr. 28 (JPO)

Dear Judge Oetken:

Defense counsel for Juan Becerra writes to request a 60-day adjournment of the status
conference currently scheduled for October 19, 2020. The parties make this request due to the
ongoing public health crisis. The government joins in this request.

Mr. Becerra consents to the exclusion of time from October 19, 2020 until the date of the next
conference.
                               Granted. The October 19, 2020 pretrial conference is adjourned to
                               December 21, 2020, at 4:30 p.m. The Court hereby excludes time
Sincerely,                     through December 21, 2020, under the Speedy Trial Act, 18 USC
                               3161(h)(7)(A), finding that the ends of justice outweigh the interests of
_____/S/______                 the public and the defendant in a speedy trial.
Jacob Mitchell                   So ordered.
                                 October 15, 2020
